Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 1 of 10 Page ID #:5827



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    13 Attorneys for Defendants and
       Counterclaim Plaintiffs
    14 RYDER RIPPS and JEREMY CAHEN
    15                      UNITED STATES DISTRICT COURT
    16                     CENTRAL DISTRICT OF CALIFORNIA
    17                     WESTERN DIVISION – LOS ANGELES
    18 YUGA LABS, INC.,                          Case No.: 2:22-cv-04355-JFW-JEM
    19                Plaintiff and              DEFENDANTS’ EX PARTE
                      Counterclaim Defendant,    APPLICATION FOR ORDER
    20                                           SHORTENING TIME ON MOTION
             v.                                  TO RESPOND TO REQUEST FOR
    21                                           PRODUCTION OF DOCUMENTS
         RYDER RIPPS, JEREMY CAHEN,
    22                                           Magistrate Judge: Hon. John E. McDermott
                      Defendants and             Motion Hearing Date: March 21, 2023
    23                Counterclaim Plaintiffs.   Motion Hearing Time: 10:00 AM
                                                 Discovery Cutoff Date: April 3, 2023
    24                                           Pre-Trial Conference Date: June 9, 2023
                                                 Trial Date: June 27, 2023
    25
    26
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Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 2 of 10 Page ID #:5828



     1                 NOTICE OF APPLICATION AND APPLICATION
     2         PLEASE TAKE NOTICE that pursuant to Local Rules 7-19 and 37-3
     3 Defendants Ryder Ripps and Jeremy Cahen, by and through its undersigned
     4 counsel, applies ex parte for an order shortening time for Plaintiff Yuga Labs, Inc.
     5 to respond to Defendants’ request for production related to the Tom Lehman
     6 settlement materials, which Defendants served on Yuga today. This request covers
     7 the settlement and any written negotiations surrounding the settlement.
     8        Defendants provided notice of this ex parte application to Defendants’
     9 counsel and on February 21, 2023. Defendants are also jointly serving a joint
    10 stipulation on the motion to compel on Plaintiffs with this application. As of the
    11 time of this filing, Plaintiffs have/have not provided their position on this
    12 application to shorten time. Plaintiffs’ counsel’s contact information is as follows:
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    15                                   eball@fenwick.com
    16
                                           Kimberly Culp
    17                                  Fenwick & West LLP
    18                      801 California St., Mountain View, CA 94041
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    19
    20                                       Ethan Thomas
                                         Fenwick & West LLP
    21                     555 California St., #12, San Francisco, CA 94104
    22                                  ethomas@fenwick.com

    23         The undersigned counsel files this ex parte application under Local Rule 37-
    24 3. The undersigned counsel also certifies that Defendants have made reasonable
    25 efforts to apprise Plaintiff of the substance of this application, and Plaintiff stated
    26 that it opposes. See generally Gosma Decl.
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         Case No. 2:22-cv-04355-JFW-JEM                         EX PARTE APPLICATION TO
                                                                    SHORTEN TIME
Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 3 of 10 Page ID #:5829



     1                                                 CONTENTS
     2 MEMORANDUM OF POINTS AND AUTHORITIES........................................... 1
     3 I.      INTRODUCTION ........................................................................................... 1
     4 II.     LEGAL STANDARD ..................................................................................... 2
     5 III.    ARGUMENT .................................................................................................. 3
     6         A.       Good Cause Exists to Shorten Time For Hearing Motion .................... 3
     7 IV.     CONCLUSION ............................................................................................... 4
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         Case No. 2:22-cv-04355-JFW-JEM                                         EX PARTE APPLICATION TO
                                                                                    SHORTEN TIME
Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 4 of 10 Page ID #:5830



     1                             TABLE OF AUTHORITIES
     2 Cases
     3 BF&W Assoc. v. Motorola, Inc., 2006 WL 8442394 (N.D. Cal. 2006)…………3
     4 Mission Power Engineering Co. v. Continental Casualty, 883 F. Supp. 488 (C.D.
     5 Cal. 1995)………………………………………………………………………..2
     6 Zhang v. Dahua Technology, USA, Inc., No:l 8:22-cv-02174-FWS-ADS 2022 WL
     7 17418621 at *2 (C.D. Cal. 2022)………………………………………………..2
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         Case No. 2:22-cv-04355-JFW-JEM                  EX PARTE APPLICATION TO
                                                             SHORTEN TIME
Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 5 of 10 Page ID #:5831



     1
                      MEMORANDUM OF POINTS AND AUTHORITIES
     2
               Defendants hereby apply for an order shortening the time to respond their
     3
         motion to compel production of materials related to the settlement agreement
     4
         between Thomas Lehman and Yuga Labs.
     5
         I.    INTRODUCTION
     6
               Thomas Lehman is scheduled to be deposed by Defendants on March 2, 2023.
     7
         On February 3, 2023, Mr. Lehman settled with Plaintiff Yuga Labs (“Yuga”) and
     8
         produced an affidavit. Defendants plan on seeking testimony Mr. Lehman about
     9
         conversations that led to the production of the affidavit and his settlement with Yuga
    10
         because those documents directly impact issues of Mr. Lehman’s credibility. The
    11
         declaration and its credibility matter in this case because Yuga has affirmatively
    12
         relied upon it in briefing and in its expert reports. Defendants cannot take a complete
    13
         deposition of Mr. Lehman without them.
    14
               On February 6, 2023, Defendants requested that Yuga produce the highly
    15
         relevant settlement agreement information for the settlement agreement between
    16
         Thomas Lehman and Yuga Labs. (See D. Gosma Decl. Ex. 1, Feb. 6 email from H.
    17
         Nikogosyan to K. Culp). Defendants re-urged this request multiple times between
    18
         February 6, 2023 and February 21, 2023. Yuga refused to answer this straightforward
    19
         request, not even responding until February 10, 2023 (See D. Gosma Decl. Ex. 2,
    20
         Feb. 10 email from D. Gosma email to E. Thomas email). Yuga continued to stall,
    21
         and Defendants sent Yuga multiple emails before Yuga replied. (D. Gosma Decl.
    22
         Ex. 3, Feb. 13 email from D. Gosma to E. Thomas) (D. Gosma Decl. Ex. 4, Feb. 14,
    23
         2023 email to E. Thomas). Defendants requested an immediate meet and confer on
    24
         this issue on February 15, 2023. (D. Gosma Decl. Ex. 5 Feb. 15, 2023 email from L.
    25
         Tompros to E. Thomas). Defendants made one final effort to avoid involving the
    26
         court, asking for a meet and confer to resolve the issue well in advance of Mr.
    27
         Lehman’s deposition. (D. Gosma Decl. Ex. 6, Feb. 16, 2023 email from D. Gosma
    28
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         Case No. 2:22-cv-04355-JFW-JEM                        EX PARTE APPLICATION TO
                                                                   SHORTEN TIME
Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 6 of 10 Page ID #:5832



     1 to E. Thomas). Counsel for Yuga refused citing the unavailability of a single lawyer
     2 from its massive litigation team and instead offered to meet and confer February 27,
     3 2023, mere days before Mr. Lehman’s deposition. (D. Gosma Decl. Ex. 7, Feb. 17,
     4 2023 K. Culp email to D. Gosma). When, in response to Defendants’ ex parte
     5 motion, Yuga finally offered to meet and confer in a timely manner, Defendants
     6 withdrew their motion. The parties met and conferred earlier today, February 21,
     7 2023. The parties were not able to resolve their dispute. (D. Gosma Decl. Ex. 8,
     8 Feb. 21, 2023 D. Gosma email to E. Thomas). Mr. Lehman’s deposition is scheduled
     9 for March 2, 2023, only a little more than a week from today. Defendants need to
    10 access these vital documents to properly depose Mr. Lehman and therefore, request
    11 that this application to shorten time to submit a joint stipulation be granted.
    12         Defendants propose that the following schedule for the motion to compel.
    13 Concurrently with this ex parte motion, Defendants have served on Yuga a joint
    14 stipulation. Defendants further propose that Plaintiffs file their response by Thursday
    15 February 23, and Defendants file the joint stipulation with the court on Friday
    16 February 24. Because the parties have already discussed their legal positions in
    17 depth, no supplemental memoranda is necessary. As set forth in more detail below,
    18 good cause exists to shorten time so that the Court can resolve the dispute early
    19 enough for Defendants to prepare their deposition of Mr. Lehman.
    20 II.     LEGAL STANDARD
    21         The court is permitted to grant ex parte relief upon a showing of “good cause.”
    22 Mission Power Engineering Co. v. Continental Casualty, 883 F. Supp. 488, 492
    23 (C.D. Cal. 1995). The moving party must demonstrate: (1) that their cause of action
    24 will be irreparably prejudiced if the underlying motion is heard according to regular
    25 noticed procedures; and (2) that they are without fault in creating the crisis that
    26 required ex parte relief.” Zhang v. Dahua Technology, USA, Inc., No:l 8:22-cv-
    27 02174-FWS-ADS 2022 WL 17418621 at *2 (C.D. Cal. 2022).
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         Case No. 2:22-cv-04355-JFW-JEM                        EX PARTE APPLICATION TO
                                                                   SHORTEN TIME
Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 7 of 10 Page ID #:5833



     1 III.    ARGUMENT
     2         A.    Good Cause Exists to Shorten Time For Hearing Motion
     3         The Court should grant the motion shorten time because absent such relief,
     4 Defendants’ ability to effectuate their discovery rights and take a complete deposition
     5 of Mr. Lehman will be irreparably harmed. Mr. Lehman’s deposition is scheduled
     6 for March 2, 2023. Mr. Lehman’s settlement and the discussions surrounding the
     7 settlement likely contain highly relevant material regarding information Yuga has
     8 already affirmatively relied upon and is almost certainly going to bring at summary
     9 judgment and trial. Mr. Lehman worked with Defendants on the RR/BAYC project
    10 and provided an affidavit with his settlement which discusses disputed factual issues
    11 in this case. If the parties follow the normal local rules, the underlying discovery
    12 issue between the parties will not be resolved in time for Defendants to make use of
    13 any materials included in the settlement materials between Mr. Lehman and Yuga
    14 Labs. Mr. Lehman’s deposition will be the only opportunity for Defendants to learn
    15 about how the affidavit was formed, and to do so Defendants need the documents
    16 related to it. Lastly, it bears noting that Mr. Lehman delayed his deposition several
    17 times, including from a noticed date of February 6, 2023. Defendants are merely
    18 requesting the Court move quickly on this matter so they could have a decision with
    19 enough time to depose Mr. Lehman properly.
    20         Defendants have diligently pursued the discovery at issue. Defendants only
    21 recently learned of Mr. Lehman’s settlement on February 6, 2023. That very day,
    22 Defendants reached out to Yuga’s counsel seeking discovery on the matter. (See D.
    23 Gosma Decl. Ex. 1, Feb. 6 email). Defendants sought to work with opposing counsel
    24 on multiple occasions, sending emails back-to-back without response in the hopes of
    25 diligently solving this dispute. See (D. Gosma Decl. Ex. 1, Feb. 6 email; Ex. 2, Feb.
    26 10 email). As detailed above, even through today, Defendants sought to solve this
    27 dispute expeditiously by working with Yuga’s counsel. Defendants moved as
    28 quickly as they reasonably could while maintaining compliance with the Local Rules
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         Case No. 2:22-cv-04355-JFW-JEM                       EX PARTE APPLICATION TO
                                                                  SHORTEN TIME
Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 8 of 10 Page ID #:5834



     1 requiring parties to work out discovery disputes among themselves. As such,
     2 Defendants are not the party at fault in creating the crisis that requires ex parte relief.
     3 Yuga instead dragged its feet and delayed responding to Defendants’ reasonable
     4 requests for discovery and for meeting and conferring.
     5         Courts are well-attuned to scenarios where the time required to respond to
     6 discovery must be shortened in order to maintain a just system of discovery. In these
     7 situations, courts have used their discretionary power to shorten the time to respond
     8 to discovery requests. See BF&W Assoc. v. Motorola, Inc., No. C5-02381 JF HRL,
     9 2006 WL 8442394 at *2 (N.D. Cal. 2006) (shortening the time to respond to
    10 discovery request to maintain the truth-seeking purpose of discovery).
    11         Lastly, Defendants also note that its discovery request is not overly
    12 burdensome on Yuga. Defendants are requesting a narrow category of documents
    13 implicating Yuga’s settlement with one individual. These documents were created
    14 recently, and therefore it should not be burdensome on Yuga to find and produce such
    15 documents.
    16 IV.     CONCLUSION
    17         For the foregoing reasons, Defendants request an order shortening the time for
    18 Defendants motion to produce the documents related to Tom Lehman’s settlement
    19 with Yuga Labs.
    20
         Dated: February 21, 2023                 By: /s/ Derek Gosma
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         Case No. 2:22-cv-04355-JFW-JEM                          EX PARTE APPLICATION TO
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Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 9 of 10 Page ID #:5835



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                                                  Attorneys for Defendants
     5                                            Ryder Ripps and Jeremy Cahen
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         Case No. 2:22-cv-04355-JFW-JEM                   EX PARTE APPLICATION TO
                                                              SHORTEN TIME
Case 2:22-cv-04355-JFW-JEM Document 115 Filed 02/21/23 Page 10 of 10 Page ID
                                 #:5836


  1                               CERTIFICATE OF SERVICE
  2         I hereby certify that a copy of the foregoing document was served on all
  3 attorneys of record via the Court’s ECF system on February 21, 2023
  4
  5                                             By: /s/ Derek Gosma____
  6                                                   Derek Gosma
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